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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Dulcie Walker
                              Plaintiff,
v.                                                   Case No.: 1:21−cv−03835
                                                     Honorable Andrea R. Wood
Elite Motors, Inc.
                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 10, 2021:


        MINUTE entry before the Honorable Andrea R. Wood: Plaintiff having filed a
notice of voluntary dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) [7], this case is
dismissed without prejudice. All claims of the putative class members are dismissed
without prejudice. All pending hearing dates and motions are stricken. Civil case
terminated. Mailed notice (dal, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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